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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                     8:20CR158

        vs.
                                                                        ORDER
JONATHAN WAYNE EARTH JR.,

                       Defendant.


        This matter is before the court upon the filing of a petition alleging that the above-named
defendant has violated condition(s) of supervision. The court has been informed that the defendant
is in custody on state charges and finds that the defendant is eligible for appointment of counsel
pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal Justice Act Plan
for the District of Nebraska.

       IT IS ORDERED:

        The Federal Public Defender for the District of Nebraska, 222 S 15th Street, Suite 300N,
Omaha, NE 68102, (855) 690-9458, is appointed to represent the above-named defendant this
matter. Upon acceptance of this appointment, the Federal Public Defender shall forthwith file an
appearance in this matter. If the Federal Public Defender declines this appointment for reason of
conflict or pursuant to the Criminal Justice Act Plan, the court shall forthwith be provided with a
draft appointment order (CJA Form 20) bearing the name and other identifying information of the
CJA Panel attorney identified in accordance with the Criminal Justice Act Plan for this district.

       IT IS FURTHER ORDERED:

       1) The Clerk shall provide a copy of this order and the Petition for Offender under
          Supervision to the Federal Public Defender for the District of Nebraska, and

       2) The Clerk shall provide a copy of this order to the above-named defendant.

       Dated this 11th day of March, 2025.

                                                     BY THE COURT:

                                                     s/ Ryan C. Carson
                                                     United States Magistrate Judge
